Case 2:14-cV-03650-FI\/|O-CW Document 174 Filed 11/13/17 Page 1 of 1 Page |D #:7097

 

Attorney or Party Wlthout Attorney: For Ca.'.rrt Use Only

LATHAM & WATKINS LLP

DAV|D]_ SCH|NDLER (130490)

355 5 Gra nd Ave dth F|oor

Los Angeles, CA 90071
Telephone No:

 

A[Tgrney Fg,rj plaintiff Ref. l\lo. or Frle No..'

 

 

ln$ert name of Coun*, and judicial Distn'ct and Branch Court.'
UN|TED STATES DlSTRlCT COURT CENTRAL DlSTR|CT OF CAL|FORN|A

 

Piamti)j? C|TY OF ALMATY, a foreign state
Defenaar)r: V|Ki'OR KH RAPUNOV, an incividua|, etc. et a|.

 

P ROO F O F 5 E RV|C E Hearlng Date: lime Depr/Dlm age Numbg,»_-
AMENDED 2214-CV-03650-Fl\/|O-CW

 

 

 

 

 

 

1_ At the time ofservice lwas at least lSyear$ of age and not a party to this action

2. | served copies ofthe Surnrnons in A Civi| Action, Consoiidated Amencied Compiaint For Damages, injunctive Reiiefand Other
Equitab|e Reliel

3. a. Party served: Wor|d Hea|th Networks, inc. f/k/a i-iea|th Station Networ|<s inc.
b. Person served: Lynanne Gares, CSC, authorized to accept served under F.R.C.P. Rule 4.

4. Add."e$s Where the party Was served.' 251 L|`|`TLE FALLS DR|VE, W|LMINGTON, DE 19808

5. l served the party:
a. by personal service. | personally delivered the documents listed in item 2 to the party or person authorized to receive
process for the party(1) on: Thur Aug 24 2017 (2) at 09:21 P|V|

6. Person Who Served Papers:
a.Kendra Watson d. The Feefor$ervlce was:
b. F|RST LEGAL
1517 W. Bever|y B|vd_
LOS ANGELES, CA 90026
c`(213)250-1111

7. l declare under penalty of perjury under the laws of the Unlted States ofAmerica that the foregoing is true and correct

 

///’5//7   me jj law

(Date) (Slgnarure}

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SERV|CE (3475773)

 

 

